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AT ROANOKE vA COURT

 

 

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Roanoke Division
WILLIAM WALLIS, ) Civil Action No.
)
Plaintiff, ) 7:05V00174
)

v. )
)

EASTERN MANUFACTURING C()RP(>RATION, )
)

B(>SS MANAGEMENT GROUP, INC,, )
)

FABRIK(>, INC., )
)

PACIFIC ATLANTIC HOLDINGS LIMITED, )
)

and )
)

ROBERT NITTI, )
)
Defendants. )

ANSWER OF B(>SS MANAGEMENT GROUP, INC., FABRIK(), INC.,
PACIFIC ATLANTIC HOLDINGS LIMITED, AND R()BERT NITTI

COMES NOW the defendant Robert Nitti, by counsel, who hereby
submits this answer to the complaint filed by the plaintiff

1. The defendant denies that this Court has subject matter jurisdiction to enter a
declaratory judgment unless there is a statutory basis for federal jurisdiction separate from the
claim for a declaratory judgment However, the defendant waives subject matter jurisdiction

2. The defendants admits the allegations of paragraph 2.

3. The defendants admit the allegations of paragraph 3 of the complaint
4. The defendants admit the allegations of paragraph 4 of the complaint
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5. The defendants admit the allegations of paragraph 5 of the complaint
6. The defendants admit the allegations of paragraph 6 of the complaint
7 . The defendants admit the allegations of paragraph 7 of the complaint
8. The defendants admit the allegations of paragraph 8 of the complaint
9. The defendants admit the allegations of paragraph 10 of the complaint

Respectfully Submitted,
WILLIAM WALLIS
By; /+~Mr~\---*\

Gary M. Bowman, Esq.
VSB No. 28866

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Roanoke, Virginia 24011
Tel: (54(>) 343-7949

Fax: (540) 344-6144

CERTIFICATE OF SERVICE

 

I, Gary M. Bowman, do hereby certify that a true and correct copy of this Answer was

mailed to Darren Delafield, l6-B Kirk Avenue, Roanoke VA 24011 on March 3(), 2005.
GARY M. B(>WMAN

 

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